        Case 1:16-cv-02972-AT-JLC Document 41 Filed 05/16/17 Page 1 of 1




                        MORRISON-TENENBAUM PLLC, ATTORNEYS-AT-LAW M-T-LAW.COM
                           87 WALKER STREET 2ND FLOOR NEW YORK NY 10013
                                   PHONE 212.620.0938 FAX 646.998.1972




                                          May 16, 2017


VIA ECF
Magistrate Judge James L. Cott
500 Pearl St., Courtroom 21D
New York, NY 10007

       Re:     Moya, et al. v. 688 10th Ave. Restaurant Corp., et al.,
               Case No, 16-CV-02972 (AT) (JLC) STATUS LETTER

Dear Judge Cott:

        I am counsel to the defendants in this matter.

         We apologize for not writing earlier. I wish to respectfully advise the court that the
parties have reached a settlement and that Plaintiff’s counsel will be drafting a settlement
agreement shortly.

        We thank you Honor for your consideration to the foregoing.

                                               Respectfully submitted,



                                               Lawrence Morrison


cc:   Plaintiff’s Counsel (via ECF)
